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 8                           UNITED STATES DISTRICT COURT
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 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   HOOPA VALLEY TRIBE,                            )   Civ. No. 1:20-cv-1814-JLT-EPG
12                                                  )
12         Plaintiff,                               )
13                                                  )   [PROPOSED] TEMPORARY
13         v.                                       )   RESTRAINING ORDER AND
14                                                  )   ORDER TO SHOW CAUSE RE
14   UNITED STATES BUREAU OF                        )   PRELIMINARY INJUNCTION
15
     RECLAMATION; DEBRA ANNE HAALAND,               )
15
16   in her official capacity as Secretary of the   )
16   Interior; MARIA CAMILLE CALIMLIM               )
17   TOUTON, in her official capacity as            )
17   Commissioner of the United States Bureau of    )
18   Reclamation; ERNEST A. CONANT, in his          )
18   official capacity as United States Bureau of   )
19
     Reclamation California-Great Basin Regional    )
19   Director; and UNITED STATES                    )
20
     DEPARTMENT OF THE INTERIOR                     )
20
21                                                  )
21         Defendants.                              )
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     [PROPOSED] TEMPORARY RESTRAINING
27   ORDER AND ORDER TO SHOW CAUSE RE
     PRELIMINARY INJUNCTION - 1
28
          Case 1:20-cv-01814-JLT-EPG Document 143-3 Filed 02/07/23 Page 2 of 2



1
            TO DEFENDANTS, UNITED STATES BUREAU OF RECLAMATION; DEBRA
2
     ANNE HAALAND, as Secretary of the Interior; MARIA CAMILLE CALIMLIM TOUTON, as
33
     Commissioner of the U.S. Bureau of Reclamation; ERNEST A. CONANT, as California-Great
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     Basin Regional Director, and the UNITED STATES DEPARTMENT OF THE INTERIOR:
55
            YOU (AND EACH OF YOU) ARE HEREBY ORDERED TO SHOW CAUSE at
66
     ____________ AM/PM on _________________, in Courtroom 4 of the above-entitled Court,
 7
 7
     located at 2500 Tulare Street, Fresno, California 93721, why you, your agents, employees and
 8
 8
     those in active concert or participation with you or them, should not be preliminarily restrained
 9
 9   and enjoined from implementing the Trinity River Winter Flow Variability Project in the
10
10   absence of the concurrence of the Hoopa Valley Tribe and in the absence of NEPA compliance.
11
11          Defendants may file any responsive papers on or before ______________. Plaintiff may
12
12   file any reply on or before __________.
13
13          Pending hearing of the Order to Show Cause, you, your agents, employees and others
14
14   acting in active concert or participation with you, ARE HEREBY RESTRAINED AND
15
15   ENJOINED from implementing the Trinity River Winter Flow Variability Project.
16
16          The above Temporary Restraining Order is effective immediately. The Court waives the
17
17   requirement for bond or security.
18
18          This Temporary Restraining Order is issued on February ____, 2023, at ______________
19
19   AM/PM.
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22                                 __________________________________________
22
23                                 Honorable Jennifer L. Thurston
                                   U.S. District Judge
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     [PROPOSED] TEMPORARY RESTRAINING
27   ORDER AND ORDER TO SHOW CAUSE RE
     PRELIMINARY INJUNCTION - 2
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